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Plaintiff

VS.
CR. NO. 04-20237-M|

REGINALD N|CW|LL!AMS

Defendant.

 

ORDER ON CONT|NUANCE AND SPEC|FY|NG PER|OD OF EXCLUDABLE DELAY
AND SETT|NG

 

This cause came on for a report date on Ju|y 21 , 2005. At that time, counsel for the
defendant requested a continuance of the August 1, 2005 trial date in order to allow for
additional preparation in the case.

The Court transferred the case to Judge Jon P. McCa||a and reset the trial date to
September 6, 2005 with a report date of Frida)¢l August 26l 2005l at 9:00 a.m., in
Courtroom 4. 9th Floor of the Federa| Bui|dingl Memphis, TN.

The period from August 12, 2005 through September 16, 2005 is excludable under
18 U.S.C. § 3161 (h)(8)(B)(iv) because the ends of justice served in allowing for additional
time to prepare outweigh the need for a speedy trial.

iT is so 0RDERED this a? f day of August, 2005.

    

B N|CE B. ONALD
U lTED STATES D|STR|CT JUDGE

This document entered on the docket sheet in com llance 64
with Fiule 55 and/or 32(b) FHCrP on 8'9_& M

   

UNITED sTATE DISTRIC COUR - WETERN D'S'TRCT OFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 54 in
case 2:04-CR-20237 Was distributed by faX, mail, or direct printing on
August 26, 2005 to the parties listed.

 

 

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Honorable Jon McCalla
US DISTRICT COURT

